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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA




                                    Case No. __________________


  Hua Li,

                                  Plaintiff,

       v.

  Shanghai Han Han Internet Technology Co., Ltd.,
  Sanhe YaHengZhiYe Co., Ltd.,
  Shenzhen Yehong Internet Technology Co., Ltd.,

                                  Defendants.
                                                                    /


                                               COMPLAINT

            Plaintiff Hua Li (“Hua Li” or “Plaintiff”), by and through undersigned counsel, for his

 complaint of design patent infringement against Shanghai Han Han Internet Technology Co., Ltd.,

 Sanhe YaHengZhiYe Co., Ltd., and Shenzhen Yehong Internet Technology Co., Ltd. (collectively

 “Defendants”), and states as follows:

                                    NATURE OF THE ACTION

            1.    This is a civil action arising out of Defendants’ patent infringement in violation of

 the Patent Law, 35 U.S.C. § 1, et seq., including 35 U.S.C. §§ 271, 281-285.

            2.    Defendants’ accused products “Adjustable Cervical Pillow” (“Accused Products”)

 infringe on Plaintiff’s U.S. Design Patent - D1,007,194 (the “D’194 Patent” or “Asserted Patent”)

 which embodies the design of a pillow.




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                                    JURISDICTION AND VENUE
          3.    This Court has subject matter jurisdiction over this case pursuant to the Federal

 Patent Act, 35 U.S.C. § 101 et seq., and 28 U.S.C. §§ 1331 and 1338.

          4.    Defendants are subject to personal jurisdiction in this district because they

 purposefully direct their sales of goods, utilizing Plaintiff’s Patent, to Florida residents by

 operating stores through online Platforms that offer shipping within the United States, including

 Florida and this District.

          5.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391.

                                           THE PARTIES
          6.    Plaintiff is an individual resides in Guizhou Province, China. Plaintiff is the lawful

 owner of U.D. Design Patent No. D1,007,194. The D’194 patent was duly issued by the United

 States Patent and Trademark Office on December 12, 2023. A true and correct copy of the D’194

 Patent is attached as Exhibit 1.

          7.    Upon information and belief, Defendants are entities incorporated in China.

 Defendants operate Amazon online stores through Seller Aliases listed below. A true and correct

 copy of Defendants’ detailed Seller Information is attached as Exhibit 2.

  Defendants                                                                  Seller Aliases
  Shanghai Han Han Internet Technology Co., Ltd.                              Hansleep US
  a.k.a.
  (SHANG HAI HAN HAN WANG LUO KE JI YOU XIAN GONG SI)
  Sanhe YaHengZhiYe Co., Ltd.                                                 Mophets
  a.k.a.
  (SanHeShi YaHengZhiYe YouXianGongSi)
  Shenzhen Yehong Internet Technology Co., Ltd.                               Yehong Store
  a.k.a.
  (ShenzhenYehongwangluokejiyouxiangongsi)
          8.    Defendants are selling identical Accused Products under various Amazon listings,

 including but not limited to the products listed in the following page. A true and correct copy of

 product listings is also attached as Exhibit 3.


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        ASINs                                         ASIN URLs
    B0D4QP9RKY                         https://www.amazon.com/dp/B0D4QP9RKY
    B0D4QPBQY1                         https://www.amazon.com/dp/B0D4QPBQY1
     B0DGLF37T5                         https://www.amazon.com/dp/B0DGLF37T5
     B0DGLJ3DL3                         https://www.amazon.com/dp/B0DGLJ3DL3
    B0DGLKXWZ8                         https://www.amazon.com/dp/B0DGLKXWZ8
    B0DGLHWVTJ                         https://www.amazon.com/dp/B0DGLHWVTJ
     B0DGLJJ7K8                         https://www.amazon.com/dp/B0DGLJJ7K8
    B0DGQBFQ9N                         https://www.amazon.com/dp/B0DGQBFQ9N

                          Count I - Infringement of U.S. Patent D1,007,194
          9.      Plaintiff incorporates by reference the allegations set forth above in this Complaint

 as if fully set forth herein.

               D’194 Patent                                              Accused Products




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          10.     The side-by-side comparison in the previous page reveals that the Accused Products

 are substantially the same as the patented design of D’194 patent.

          11.     Based on the above comparison, an ordinary observer is likely to find that the

 Accused Products infringe upon the design embodied in the ’194 Patent.

                                        PRAYER FOR RELIEF

 WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

 1) That Defendants and all of its subsidiaries, affiliates, officers, agents, servants, employees,

    attorneys, and their heirs, successors and assigns, and all persons acting in concert or

    participation with it and each of them, be immediately enjoined and restrained, preliminarily

    and permanently, without bond, from

         a. manufacturing, distributing, selling or offering to sell in the United States or importing

                into the United States products infringing the claims of the Asserted Patent; and

                deliver to Plaintiff all products that infringe the Asserted Patent;

         b. aiding, abetting, contributing to, or otherwise assisting anyone in infringing upon the

                Asserted Patent;

         c. effecting assignments or transfers, forming new entities or associations or utilizing

                any other device for the purpose of circumventing or otherwise avoiding the

                prohibitions set forth in Subparagraphs (a) and (b).

 2) Entry of an Order that, upon Plaintiff’s request, those with notice of the injunction, including,

    without limitation, any online marketplace platforms such as Amazon (collectively, the

    “Third Party Provider”) shall disable and cease displaying any advertisements used by or

    associated with Defendants in connection with the sale of goods that infringe Patent claimed

    in the Asserted Patent;




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 3) A judgment that Defendants has infringed each of the Asserted Patent;

 4) An award of damages for infringement of the Asserted Patent together with prejudgment

    interest and costs, said damages to be trebled by reason of the intentional and willful nature of

    Defendants’ infringement, as provided by 35 U.S.C. § 284;

 5) Costs of suit;

 6) Finding of the case to be exceptional under 35 U.S.C. § 285, and an award of Plaintiff’s

    reasonable attorneys’ fees;

 7) That any monetary award includes pre- and post-judgment interest at the highest rate allowed

    by law; and

 8) Such other relief as the Court may deem just and proper.


                                        Jury Trial Demand

        Plaintiff hereby demands a jury trial on all issues so triable.



 October 16, 2024,                              Respectfully submitted,

                                                 /s/ Andrew J. Palmer
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